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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                        )   Case No. 20-10343 (LSS)
                                               )
 BOY SCOUTS OF AMERICA AND                     )   Chapter 11
 DELAWARE BSA, LLC, 1                          )   (Jointly Administered)
                                               )
                        Debtors.               )   Re: Dkt. 11575, 11578, 11586, 11591, 11602
                                               )
                                               ) Hearing Date: November 20, 2023 at 10:00 a.m. ET
                                               ) Objection Deadline: November 16, 2023

       CONSOLIDATED REPLY TO RESPONSE OF THE HONORABLE BARBARA J.
      HOUSER (RET.), IN HER CAPACITY AS TRUSTEE OF THE BSA SETTLEMENT
     TRUST, IN OPPOSITION TO MOTIONS TO CHANGE ELECTIONS OF EXPEDITED
         DISTRIBUTION (D.I. 11602) WITH REGARD TO MOTIONS TO CHANGE
           ELECTIONS OF EXPEDITED DISTRIBUTION (D.I. 11575 AND 11578)

          Weller Green Toups & Terrell, LP and Rogers Patrick Westbrook & Brickman, LLC

 (“WGTT-RP”), on behalf of certain of its clients (the “Claimants”), by and through undersigned

 counsel, hereby file this Consolidated Reply to the Response of the Honorable Barbara J. Houser,

 (Ret.), in her Capacity as Trustee of the BSA Settlement Trust, in Opposition to Motions to Change

 Elections of Expedited Distribution (D.I. 11602) with regard to Motions to Change Elections of

 Expedited Distribution (D.I. 11575 and 11578), and in support of this Motion, the Claimants

 respectfully state as follows:

                                              FACTS

          1.    Claimant SST-905770 has provided the unredacted exhibits including signatures

and exhibits to the Trustee via a link through Adobe Acrobat to counsel at Pachulski Stang, Ziehl &

Jones, LLP and Gilbert LLP. Claimant SST-905770 did not sign the ballot per his Affidavit produced

in redacted for on DI 11676 and provided to opposing counsel via a link through Adobe.


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   The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
 tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
 (4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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          2.       Claimants agree with the Trustee that the claims of SST-905486, SST-908925, SST-

909534, and SST-905879 were resolved and are now moot as Omni agreed they were not Expedited

Claims.

          3.       Claimants SST-905486 hereby withdraws his Motion to Change the Expedited

Election as he has filed his Expedited Claims Questionnaire and submitted his Executed Release and

his claim is under review.

          4.       The only Claimant left that is the subject of this Motion is SST-905896. Claimant

SST-905896 would show that he submitted Ballots for Class 8 (Direct Abuse Claims). In each such

instance, the Claimants knowingly and purposefully chose not to receive the Expedited Distribution

and none of the Claimant’s ballots were marked to indicate otherwise.

          5.       A search of the Document Repository and review of all ballots contained therein

did not find any markings on Claimant SST-905896’s ballots to indicate a choice to receive the

Expedited Distribution.

          6.       Claimant SST-905896 requested the SST to correct the misclassified ballot or

produce ballots submitted by SST-905896 that it contends will support the expedited classification

or otherwise provide an explanation for the expedited classification. The SST, although purportedly

having reviewed Claimants’ ballots, has yet to correct the misclassification or provide an explanation

why it has not.

          7.       Claimant SST-905896 provided written instructions that directed WGTT-RP how

to prepare a ballot for Claimants’ signatures.

          8.       WGTT-RP prepared the ballot of Claimant SST-905896 according to their written

instructions. Each ballot was marked with an “Accept” vote for the Bankruptcy Plan and no markings

were made to accept the Expedited Distribution.



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            9.     Written instructions from Claimant SST-905896 evidence an undeniable intention

and conscious decision to decline the Expedited Distribution Option and to have his claim processed

under the Trust Matrix Review. Copies of Claimant SST-905896’s ballot, written instructions, and

Declaration is attached hereto as Exhibit A to DI 11578.

            10.    Claimant SST-905896’s ballot was timely submitted. None of the ballots have any

markings that indicate the Claimant affirmatively chose the Expedited Distribution Option.

            11.    The Solicitation Procedures approved by the Court emphasize that claimants “may

elect only on his or her Ballot or Master Ballot to receive an Expedited Distribution, which, as

specified in the Plan, is a one-time Cash payment from the Settlement Trust in the amount of

$3,500.00…If selecting the $3,500 Expedited Distribution, you must indicate this on the

Ballot.” Ex. 1 to Solicitation Order, § IV.D.

                                                CONCLUSION

            12.    Claimant SST-905896 provided the Scouting Settlement Trust with evidence of

his choice to decline the Expedited Distribution, including specific written instructions and timely

submitted, properly completed, and executed ballots.

            13.    After notice, the SST has not (a) corrected Claimant SST-905896’s misclassified

ballots; (b) provided copies of Claimant SST-905896’s ballots that it contends are the basis for the

Expedited Distribution classification; or (c) provided any explanation or rationale for the

misclassification.

            14.    By not correcting the misclassified ballots, the Scouting Settlement Trust

continues to violate provisions of the Solicitation Order and deprive Claimants of their rights under

the Plan.




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        WHEREFORE, Weller Green Toups & Terrell, LP and Rogers Patrick Westbrook &

Brickman, LLC respectfully request that the Court issue an Order compelling the Scouting

Settlement Trust to correct the misclassification of Claimants SST-907550 and Claimant SST-

905896’s Ballots from Expedited Distribution to Trust Matrix Review and provide such other and

further relief as is just and proper

Dated: November 6, 2023
                                           /s/ Daniel K. Hogan
                                           Daniel K. Hogan (DE Bar # 2814)
                                           HOGAN♦MCDANIEL
                                           1311 Delaware Avenue
                                           Wilmington, DE 19806
                                           (302) 656-7540
                                           Email: dan@dkhogan.com

Of Counsel:
Mitchell A. Toups (Pro Hac Vice Pending)
MITCHELL A. TOUPS, LTD., OF
WELLER, GREEN, TOUPS & TERRELL, LLP
Post Office Box 350
Beaumont, Texas 77704
(409) 832-1800
Email: matoups@wgttlaw.com

Attorneys for Claimant SST-907550

-and-


T. Christopher Tuck, Esq. (Pro Hac Vice Pending)
ROGERS, PATRICK, WESTBROOK & BRICKMAN, LLC
1037 Chuck Dawley Blvd., Bldg. A
Mount Pleasant, South Carolina 29464
Phone: (843) 727-6500
ctuck@rpwb.com


Counsel for WGTT-RP Claimants




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